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12
                             UNITED STATES DISTRICT COURT
13
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
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15
     UNITED STATES OF AMERICA,               Case No.2:21-CV-07078
16
               Plaintiff,                    COMPLAINT FOR FORFEITURE
17
                     v.                      18 U.S.C. § 981(a)(1)(A) & (C)
18
     $599,870.00 IN U.S. CURRENCY,           [FBI]
19   $21,000.00 IN U.S. CURRENCY AND
     APPROXIMATELY 59 MISCELLANEOUS
20   YELLOW AND WHITE COLORED COINS
     AND BARS,
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               Defendants.
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          Plaintiff United States of America brings this claim against
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     defendants $599,870.00 in U.S. Currency, $21,000.00 in U.S. Currency
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1    and Approximately 59 Miscellaneous Yellow and White Colored Coins and

2    Bars (collectively, the “defendants”), and alleges as follows:

3                               JURISDICTION AND VENUE

4         1.    The government brings this in rem forfeiture action

5    pursuant to 18 U.S.C. § 981(a)(1)(A) & (C).

6         2.    This Court has jurisdiction over the matter under 28 U.S.C.

7    §§ 1345 and 1355.

8         3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.

9                                PERSONS AND ENTITIES
10        4.    The plaintiff in this action is the United States of

11   America.

12        5.    The defendants consist of assets seized by law enforcement

13   officers on or about March 20, 2021, at U.S. Private Vaults at 9182

14   Olympic Boulevard in Beverly Hills, California, and are comprised of

15   $599,870.00 in U.S. Currency seized from box number 1000, and

16   $21,000.00 in U.S. Currency and Approximately 59 Miscellaneous Yellow

17   and White Colored Coins and Bars seized from box number 3900.

18        6.    The defendants are currently in the custody of the United

19   States Marshals Service in this District, where they will remain

20   subject to this Court’s jurisdiction during the pendency of this

21   action.

22        7.    The interests of Ralph DiPiero and Marion Shilling may be

23   adversely affected by these proceedings.

24                               BASIS FOR FORFEITURE

25   Background Regarding U.S. Private Faults

26        8.    U.S. Private Vaults (“USPV”) is a company that was in the

27   business of renting safe deposit boxes to customers.          By providing

28   and promoting total anonymity, USPV catered to and attracted

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1    criminals who sought to keep their identities and the source of their

2    cash beyond the reach of banks, regulators, the IRS, and law

3    enforcement.

4         9.      The company’s primary pitch to customers was anonymity, as

5    reflected in its website that provided “Complete Privacy; Biometric

6    Identification; No ID Required.”       USPV also boasted in its website

7    “Our business is one of the very few where we don’t even want to know

8    your name.     For your privacy and the security of your assets in our

9    vault, the less we know the better.”        This advertisement appealed to
10   persons engaged in activities which they wished to hide from legal
11   authorities and law-abiding financial institutions.
12        10.     USPV also posted on its website “Four Reasons to Store Your
13   Gold At USPV,” information designed to market the company’s services,
14   which led to many involved in criminal activities to rent boxes from
15   USPV.     The posting asserted:
16        Banks require clients to provide their social security
17        number and a photo identification as a condition for
18        renting a safe deposit box.       Your information is then filed

19        in the bank's central data system.        This information can be

20        easily accessed by government agencies (such as the IRS) or

21        attorneys armed with court orders. If no one is aware you

22        have a safe deposit box, the contents (your gold) are much

23        safer.

24   By advocating a service which circumvented the IRS and persons “armed

25   with court orders,” customers engaged in illegal activity were

26   attracted to and ultimately stored and secreted their criminal

27   proceeds (which the government has a legitimate interest in) at USPV,

28   instead of at banks or law-abiding financial institutions where their

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1    illegal activities would more likely be uncovered.

2         11.   In the same post, “Four Reasons to Store Your Gold At

3    USPV”, USPV stated:

4         As government chartered institutions, banks are now

5         required to file “suspicious activity reports.” . . . U.S.

6         Private Vaults is not subject to federal banking laws and

7         would only cooperate with the government under court order.

8    By marketing services in this fashion, some persons who ultimately

9    became USPV customers, were attracted by the advertisements because
10   USPV’s safe deposit box storage facilities offered them a much safer
11   place to store their illegal criminal proceeds, unlike law-abiding
12   banks, so as to eliminate their fear of apprehension by law
13   enforcement and in promotion of their illegal activities.
14        12.   Further, and in order to shield customers from having law
15   enforcement uncover their illegal activity, USPV encouraged its
16   customers pay their box rental fees in cash.         In addition, USPV
17   charged customers significantly higher prices than those charged by
18   major banks, because USPV offered something which legitimate banks do

19   not: anonymity, a place to store illegally obtained cash, tips and

20   assistance in avoiding law enforcement and a willingness to look the

21   other way with regard to all types of criminal conduct.           And one of

22   USPV’s owners has gone so far as to brag about bringing to USPV

23   individuals selling marijuana and other drugs illegally, based on the

24   owner’s connections, by marketing USPV as a safe place for those

25   criminal actors and potential USPV customers to store their ill-

26   gotten gains.

27        13.   Not surprisingly, because USPV’s business model is designed

28   to appeal and cater to criminals, USPV has repeatedly been used by

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1    criminals to store criminal proceeds.        Over the years, the contents

2    of specific boxes at USPV have been forfeited because they are the

3    proceeds of criminal activity.      For example, on July 1, 2019,

4    officers seized $215,653 from Michael Beaver, as he was leaving USPV,

5    and then seized an additional $1,448,700 from his USPV boxes.

6    Records from the Employment Development Department (the “EDD”), which

7    is the California agency to whom employers must report wages earned

8    by their employees, showed Beaver had no legitimate employment

9    income.    In addition, Beaver’s phones revealed evidence of drug
10   trafficking activity, and the in excess of $1.6 million funds were
11   forfeited as proceeds of unlawful activity.
12        14.    On April 21, 2019, a victim was kidnapped in San Diego and
13   brutally tortured in a warehouse, where the victim was hit with
14   sticks and baseball bats; stripped naked; hit with a hammer on the
15   victim’s toes; and set on fire.       Allan Newman was arrested and
16   charged with kidnapping for ransom, attempted murder, torture and
17   aggregated mayhem relative to the beating.         The victim had been
18   employed by a group of people who were engaged in distributing

19   counterfeit marijuana vaping cartridges, and the group believed the

20   victim had stolen a suitcase full of cash, which a vape cartridge

21   customer had left at the warehouse.        A portion of the funds had been

22   placed by the victim’s ex-wife in a safe deposit box at USPV, which

23   the ex-wife retrieved and used to pay the victim’s ransom.

24        15.    On March 6, 2018, officers seized $101,080 and 26 gold bars

25   from Vincent Ramos’ USPV box.      Ramos was the CEO of a company that

26   facilitated the importation, exportation and distribution,

27   internationally, of wholesale quantities of cocaine, heroin and

28   methamphetamine.    The currency and gold bars were forfeited, and

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1    Ramos was indicted and pleaded guilty to Racketeering and Drug

2    Trafficking, in the Southern District of California.          See United

3    States v. Ramos, Case No. 18cr1404-WQH.

4         16.   In September 2016, officers seized $592,450 and $435,190,

5    respectively, from two USPV boxes of Mikhail Malykhin, an individual

6    who was the leader of an identity theft/computer intrusion fraud

7    ring.   He and others were involved in a complex scheme involving

8    altering hacked debit cards from a health insurance provider and

9    altering the codes to cash out the debit cards.          Malykhin was
10   indicted and pleaded guilty to committing access device fraud, and
11   the over $1,000,000 in funds seized from Malykhin’s boxes were
12   forfeited as proceeds of the fraud and were used to pay restitution
13   to victims of Malykhin’s fraud.       See United States v. Malykhin,
14   Central District of California Case No. 16cr0688-DMG.

15        17.   In November 2015, officers seized $1,543,400 from the USPV

16   box of Gerald Lebowitz, which he stated had been brought into the

17   United States illegally to avoid taxes.        However, further

18   investigation revealed that Lebowitz was part of a conspiracy to

19   distribute methaqualone, a controlled substance, and officers seized

20   over 45 kilograms of methaqualone powder and 12 canisters of the

21   chemical o-Taluidine, both chemical precursors, during the course of

22   the investigation.     The funds were forfeited as criminal proceeds.

23   See United States of America v. Lebowitz, Central District of

24   California Case No. 17cr-0053-CAS.

25        18.   On October 28, 2015, officers seized $500,000, 22 gold bars

26   and 15 gold coins from the USPV box of Cyrus Irani, who was the

27   master bookmaker and head of an illegal gambling organization that

28   operated both internet and traditional bookmaking operations, and

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1    engaged in money laundering.      He pleaded guilty to Enterprise

2    Corruption, and 14 others in his organization were convicted of

3    various gambling, money laundering and enterprise corruption charges.

4    The assets found in Irani’s box were forfeited as criminal proceeds.

5    The Property At Issue In This Case

6         19.   The defendants seized from the boxes at issue in this case

7    are an example of persons storing funds and other assets from their

8    criminal activity at USPV, as a result of USPV’s advertisements,

9    marketing efforts and other transactions and activities, designed to
10   induce persons to rent boxes at USPV to hide their illegal monies.
11   The defendants seized represent the proceeds of criminal activity and
12   were involved in money laundering activity, which therefore renders
13   them subject to forfeiture.
14        20.   Law enforcement officers have conducted an investigation
15   pertaining to DiPiero, which has connected him to an organized crime,
16   sports betting and loan-sharking illegal operation.          During the
17   investigation, officers obtained information showing that DiPiero is
18   a high-level member of the organization who works with bookmakers in

19   different parts of the United States, and receives a portion of the

20   gambling proceeds collected by those bookmakers.          Witnesses have told

21   law enforcement officers about DiPiero’s role in the organization and

22   DiPiero’s activities in running the illegal sports book operation.

23   DiPiero also has prior arrests and charges for gambling, money

24   laundering, drug trafficking and conspiracy.         In addition, the funds

25   seized from DiPiero’s boxes contained indicia of illegal activity, in

26   that they were bundled and rubber-banded.

27   / / /

28   / / /

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1                               FIRST CLAIM FOR RELIEF

2         21.   Plaintiff incorporates the allegations of paragraphs 1-20

3    above as though fully set forth herein.

4         22.   Based on the above, plaintiff alleges that the defendants

5    constitute or are derived from proceeds traceable to violations of 18

6    U.S.C. § 1955 (illegal gambling business), which is a specified

7    unlawful activity as defined in 18 U.S.C. §§ 1956(c)(7)(A) and

8    1961(1)(D).   The defendants are therefore subject to forfeiture

9    pursuant to 18 U.S.C. § 981(a)(1)(C).
10                             SECOND CLAIM FOR RELIEF

11        23.   Plaintiff incorporates the allegations of paragraphs 1-20

12   above as though fully set forth herein.

13        24.   Based on the above, plaintiff alleges that the defendants

14   constitute property involved in multiple transactions or attempted

15   transactions in violation of 18 U.S.C. § 1956(a)(1)(A)(i) or

16   (a)(1)(B)(i), or property traceable to such property, with the

17   specified unlawful activity being violations of 18 U.S.C. § 1955.

18   The defendants are therefore subject to forfeiture pursuant to 18

19   U.S.C. § 981(a)(1)(A).

20                              THIRD CLAIM FOR RELIEF

21        25.   Plaintiff incorporates the allegations of paragraphs 1-20

22   above as though fully set forth herein.

23        26.   Based on the above, plaintiff alleges that the defendants

24   constitute property involved in multiple transactions or attempted

25   transactions in violation of 18 U.S.C. § 1957(a), or property

26   traceable to such property, with the specified unlawful activity

27   being violations of 18 U.S.C. § 1955.        The defendants are therefore

28   subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

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1         WHEREFORE, plaintiff United States of America prays:

2         (a)   that due process issue to enforce the forfeiture of the

3    defendant currency;

4         (b)   that due notice be given to all interested parties to

5    appear and show cause why forfeiture should not be decreed;

6         (c)   that this Court decree forfeiture of the defendant currency

7    to the United States of America for disposition according to law; and

8         (d)   for such other and further relief as this Court may deem

9    just and proper, together with the costs and disbursements of this
10   action.
11   Dated: September 2, 2021          TRACY L. WILKISON
                                       Acting United States Attorney
12                                     SCOTT M. GARRANGER
                                       Assistant United states Attorney
13                                     Chief, Criminal Division
14
                                       _______/s/___________________
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                                       MAXWELL COLL
16                                     Assistant United States Attorneys
                                       Asset Forfeiture/General Crimes
17                                     Sections

18                                     Attorneys for Plaintiff
                                       UNITED STATES OF AMERICA
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1                                     VERIFICATION

2         I, Lynne Zelhart, hereby declare that:

3         1.   I am a Special Agent with the Federal Bureau of

4    Investigation.

5         2.   I have read the above Complaint for Forfeiture and know the

6    contents thereof.

7         3.   The information contained in the Complaint is either known

8    to me personally, was furnished to me by official government sources,

9    or was obtained pursuant to subpoena.        I am informed and believe that
10   the allegations set out in the Complaint are true.
11        I declare under penalty of perjury under the laws of the United
12   States of America that the foregoing is true and correct.
13        Executed on September 1, 2021 at Los Angeles, California.
14

15                                           /s/ Lynne Zelhart
                                                 Lynne Zelhart
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